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                                                                                   LOCATION CODE                             (~-
   CJA 7
(Rev . 7184)




                                                                                   Docket No . CR205-2 9

                                                                    ORDER TERMINATING
                                                                  APPOINTMENT OF COUNSEL ❑
               U.S.A.         vs. BARBARA ARCHIBALD                        and/or Check
                                                                    AUTHORIZATION FOR one or
                                                                      DISTRIBUTION OF bot h
                                                                    AVAILABLE PRIVATE X
                                                                          FUNDS


                  WHEREAS,                   E . JERRELL RAMSEY                    was appointed as counsel for the
          above defendant/petitioner, on the         31st   day                   of August         , 20 05 ; an d

                 WHEREAS, the court finds that funds are available from or on behalf of the above named
          defendant/petitioner for payment of compensation and expenses of court-appointed counsel and/or for other
          services necessary for adequate representation, and that the above defendant/petitioner is therefore financially
          able to obtain counsel or to make partial payment for representation, and/or for other services necessjy :fo r
          adequate representation ;

                   IT IS THEREFORE :

          Check   ❑ ORDERED that the appointment of said counsel is hereby terminated ,
          one o r
          both X AUTHORIZED/DIRECTED that such funds in the amount of $ 2,000 .0 0
                    paid by said defendant/petitioner or by
                    as follows :

                          (enter specific terms of repayment, i.e., date due if lump-sum payment, schedule and
                          amounts of each payment if installment payment .)




                          Said Defendant shall pay the sum of $200 .00 for ten months to the "Clerk, United States
                          District Court," Brunswick, GA . The first payment will be made on September 10, 2005,
                          with payments due on the 10th day of each succeeding month .




          Dated this               31st           day of          August           , 20   05   .




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